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                         EXHIBIT D
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO. 9:19-cv-81160-RS

    APPLE INC.,
           Plaintiff,
    v.
    CORELLIUM, LLC,
           Defendant.




    APPLE INC.’S INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1)

          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, plaintiff Apple Inc.

   (“Apple”) submits the following initial disclosures. These initial disclosures are based upon the

   information reasonably available to Apple at this time. Apple reserves the right to remove from

   these disclosures any witness or category of documents based upon further investigation. Apple

   also reserves the right to make additional disclosures, including, but not limited to, the

   identification of witnesses or documents not identified herein, to reflect information

   subsequently acquired through its continuing investigation and discovery in this action. No

   incidental or implied admissions are intended by these disclosures. By making these disclosures,

   Apple does not represent that it is identifying every document, tangible thing, or witness possibly

   relevant to this case. Apple’s disclosures represent a good-faith effort to identify information it

   reasonably believes is relevant to the factual allegations in its Complaint. Apple reserves the

   right to supplement or amend these disclosures if required, in accordance with Rule 26(e) of the

   Federal Rules of Civil Procedure.
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             These initial disclosures are made subject to the reservation of all privileges. Apple’s

   initial disclosures are made without in any way waiving: (1) the right to object to any discovery

   requests or to the admissibility of any evidence on the grounds of privilege, work product

   immunity, relevance, competency, materiality, hearsay, or any other proper ground in this or in

   any other action; (2) the right to object to the use of any such information, for any purpose, in

   whole or in part, in any subsequent proceeding in this action or in any other action; or (3) the

   right to object on any and all grounds to any discovery request or proceeding involving or

   relating to the subject matter of these disclosures in any proceeding in this action or in any other

   action.

             Apple construes the requirements of Rule 26(a)(1) of the Federal Rules of Civil

   Procedure not to require the production of any information or documents protected by the

   attorney-client privilege, the work product doctrine, or any other applicable privilege or

   protection from disclosure, or that constitute settlement communications regarding this matter.

   Apple intends to and does assert a privilege with respect to all such information and documents,

   and inadvertent disclosure thereof shall not constitute a waiver of any such privilege.

               I.   Individuals Likely to Have Discoverable Information – Rule 26(a)(1)(A)(i)

             Subject to and without waiving the limitations set forth above, Apple is presently aware

   of the following individuals who may have discoverable information that Apple may use to

   support its claims or defenses. Apple does not consent to or authorize any communications with

   Apple’s current or former employees or associates. All such communications must be made

   through Apple’s counsel of record.
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   documents, electronically stored information, and tangible things that Apple has in its

   possession, custody, or control and may use to support its claims or defenses in this action. A

   description by category of documents within the scope of Rule 26(a)(1)(A)(ii) includes:

              1. Documents relating to Apple’s ownership of copyrights in the works identified in

                  Exhibit A of the Complaint (the “Apple Copyrighted Works”).

              2. Documents relating to Apple’s uses and licenses of the Apple Copyrighted

                  Works.

              3. Copyright registrations owned by Apple that relate to the Apple Copyrighted

                  Works.

              4. Documents relating to Corellium’s works that infringe Apple’s registered

                  copyrights in the Apple Copyrighted Works.

              5. Documents relating to Corellium’s willfulness in infringing the Apple

                  Copyrighted Works.

              6. Documents relating to Apple products, including, but not limited to, TestFlight

                  and XCode, whose market is or may be harmed by Corellium’s infringement.

              7. Correspondence between Apple and Corellium relating to the issues raised in this

                  action.

          Subject to and following the issuance of an appropriate protective order, and to the extent

   the foregoing materials are not privileged, these documents, data compilations, and things will be

   made available during discovery through Apple’s undersigned counsel. Apple makes these

   disclosures without waiver of any privileges, and production of these documents will not

   constitute a waiver of any objection or an admission that they are relevant or otherwise
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   admissible in evidence. Apple reserves the right to supplement these disclosures as discovery

   continues.

          III.    Damages Computation – Rule 26(a)(1)(A)(iii)

          In addition to the nonmonetary relief sought in the Complaint, Apple seeks its damages

   and lost profits pursuant to 17 U.S.C. § 504(b) or, alternatively, statutory damages for

   Corellium’s copyright infringement pursuant to 17 U.S.C. § 504(c). The precise amount of

   damages that are recoverable in this case will depend on discovery, expert analysis, and expert

   testimony, which have yet to occur. Apple reserves the right to supplement this response as

   appropriate. Further, Apple seeks its attorneys’ fees and costs for this case. Apple will not be

   able to compute its costs and attorneys’ fees until after the conclusion of discovery and will

   supplement its disclosures accordingly.

           IV.    Insurance Agreements – Rule 26(a)(1)(A)(iv)

          Apple is not aware, at this time, of any applicable insurance.



   Dated: September 11, 2019                     Respectfully submitted,

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                                                    APPLE INC.


                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 11th day of September, 2019, I served the foregoing by e-

   mail on the Service List below participants.

                                                            s/Martin B. Goldberg
                                                              Martin B. Goldberg

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